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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MINNESOTA

In re:
                                                                                Bankr. No. 19-50848
Anthony J. Lastovich,                                                                    Chapter 13

                   Debtor.

 NOTICE OF HEARING AND MOTION OF CATERPILLAR FINANCIAL SERVICES
   CORPORATION FOR ORDER DEEMING ITS PROOF OF CLAIM TIMELY


TO:      The Debtor and other entities specified in Local Rule 9013-3.

         1.        Caterpillar Financial Services Corporation (“CFSC”) moves the Court for the relief

requested below and gives notice of hearing.

         2.        The Court will hold a hearing on this motion at 9:00 a.m. on July 20, 2020, in

Courtroom 2, at the United States Courthouse, at 515 West First Street, in Duluth, Minnesota.

         3.        Any response to this motion must be filed and served not later than Wednesday,

July 15, 2020, which is five days before the time set for the hearing (including Saturdays, Sundays,

and holidays). UNLESS A RESPONSE OPPOSING THE MOTION IS TIMELY FILED, THE

COURT MAY GRANT THE MOTION WITHOUT A HEARING.

         4.        This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334,

Federal Rule of Bankruptcy Procedure 5005 and Local Rule 1070-1. This proceeding is a core

proceeding. The petition commencing this Chapter 13 case was filed on October 28, 2019. The

case is now pending in this Court.

         5.        This Motion is filed under Federal Rule of Bankruptcy Procedure 9013 and Local

Rules 9013-1 through 9013-3. As set forth more fully in the memorandum filed herewith, CFSC

requests that this Court deem CFSC’s proof of claim, which it filed on June 22, 2020, to be timely.




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       WHEREFORE, CFSC respectfully requests that the Court enter an order deeming its

proof of claim timely.

Dated: July 6, 2020                               DORSEY & WHITNEY LLP

                                                  By: /e/ Will Martin
                                                  Monica Clark, # 28211X
                                                  Will Martin, # 399002
                                                  50 South Sixth Street, Suite 1500
                                                  Minneapolis, MN 55402-1498
                                                  Telephone: (612) 340-2600
                                                  Facsimile: (612) 340-2868

                                                  Attorneys for Caterpillar Financial Services
                                                  Corporation




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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA

In re:
                                                                             Bankr. No. 19-50848
Anthony J. Lastovich,                                                                 Chapter 13

                Debtor.

                    MEMORANDUM IN SUPPORT OF MOTION OF
               CATERPILLAR FINANCIAL SERVICES CORPORATION FOR
                 ORDER DEEMING ITS PROOF OF CLAIM TIMELY


         Caterpillar Financial Services Corporation (“CFSC”) submits this memorandum in support

of its motion (the “Motion”) for an order deeming its proof of claim filed on June 22, 2020 timely.

                                        BACKGROUND

         CFSC and Anthony J. Lastovich (the “Debtor”) were parties to various contracts (the

“Contracts”), by which CFSC sold or leased equipment (collectively, the “Equipment”) to the

Debtor. When the Debtor defaulted on the Contracts, CFSC repossessed, repaired, and sold the

Equipment pursuant to its rights as a secured creditor and/or lessor under the Contracts. After

applying the proceeds from the disposition of the Equipment, the balance owed to CFSC under the

Contracts was $278,809.81, plus late charges, costs, expenses, and attorneys’ fees.

         On September 13, 2019, in connection with the Debtor’s defaults under the Contracts, and

to recover the deficiency amount, CFSC filed a Complaint with the State of Tennessee 20th Judicial

District Chancery Court (the “Chancery Court”). On October 2, 2019, CFSC served the Debtor

with the Complaint.

         On October 28, 2019, the Debtor filed his petition commencing this Chapter 13 case (the

“Bankruptcy Case”). CFSC did not receive notice – and was not otherwise aware – of the

commencement of the Bankruptcy Case. On November 5, 2019, the Debtor filed his Schedules.
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CFSC was not listed as a creditor on the Schedules and did not receive a copy of the Schedules.

       On December 19, 2019, the Chancery Court granted CFSC default judgment in the amount

of $357,203.84 (the “Judgment”).

       The deadline to file proofs of claim in the Bankruptcy Case was January 6, 2020. Because

it was unaware of the Debtor’s Bankruptcy Case, CFSC did not file a proof of claim by the proof

of claim deadline.

       CFSC first learned of the Bankruptcy Case on May 19, 2020, after obtaining the Judgment

and after the proof of claim deadline. On June 22, 2020, CFSC filed its proof of claim in the

Bankruptcy Case, in the amount of $305,127.31. A true and correct copy of its proof of claim is

attached hereto as Exhibit A.

                                      DISCUSSION

       Where, as here, creditors are unable to comply with proof of claim deadlines in Chapter 13

cases for lack of notice, courts may deem their otherwise late claims as timely filed. For example,

in In re Barnes, 2008 WL 2397618, No. 07-31157 (Bankr. D. N.D. June 10, 2008), a creditor who

had not received proper notice of a debtor’s Chapter 13 bankruptcy case sought permission to file

a late proof of claim under Federal Rule of Bankruptcy Procedure 3002(c)(6). Id. at *1. Noting

that Rule 3002(c)(6) applies only in Chapter 7 cases, and thus was inapplicable to the Chapter 13

case before it, the Barnes court nevertheless permitted the creditor to file his proof of claim late,

under due process grounds: “This Court agrees . . . that [the creditor] was not afforded basic due

process because of the insufficient notice of the Chapter 13 proceedings.” Id. at *3.

       In reaching its decision, the Barnes court acknowledged the “split on whether a creditor

who has received no notice in a Chapter 13 case should be entitled to file a late proof of claim

notwithstanding the provisions of Bankruptcy Rules 3002(c) and 9006(b).” Id. at *2. The Barnes



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court observed that even those courts that strictly construe the time limitations on filing claims

“recognize[ ], on separate theories, the authority of the bankruptcy court to allow late claims when

adequate notice of the bankruptcy proceeding is not provided to allow the filing of timely claims.”

Id.; see In re Cole, 146 B.R. 837, 841 (Bankr. D. Colo. 1992) (“Unlike other Code chapters, no

back door provisions under Chapter 13 otherwise allow the creditor with no notice to participate

in distributions. For these reasons, a creditor who has received no notice in a Chapter 13 case

should be entitled to file a late proof of claim notwithstanding the provisions of Bankruptcy Rules

3002(c) and 9006(b).”).

       Similarly, in In re Harris, 447 B.R. 254 (Bankr. W.D. Ark. 2011), the Bankruptcy Court

overruled the debtor’s objection to the late-filed claim of a creditor that had not received notice of

the debtor’s Chapter 13 case in time to comply with the proof of claim deadline. Noting that the

creditor’s lack of notice of the proof of claim deadline “does not fall within one of the exceptions

enumerated in Rule 3002(c)” (id. at 257), the court concluded that it “would be inequitable to

proscribe a creditor’s right to file a proof of claim after the bar date when a debtor’s omission of

the creditor on his creditor matrix resulted in the creditor failing to receive notice of the deadline

to file proofs of claim.” Id. at 258.

       For the foregoing reasons, CFSC respectfully submits that this Court should deem its proof

of claim timely. As set forth above, CFSC did not receive notice (and was not otherwise aware)

of the Bankruptcy Case until almost seven months after it was filed and more than four months

after the proof of claim deadline. CFSC would be denied due process, and it would be inequitable,

if it is unable to share in distributions to unsecured creditors in the Bankruptcy Case.




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        WHEREFORE, CFSC respectfully moves the Court for an order deeming its proof of

claim timely.


Dated: July 6, 2020                            DORSEY & WHITNEY LLP

                                               By: /e/ Will Martin
                                               Monica Clark, # 28211X
                                               Will Martin, # 399002
                                               50 South Sixth Street, Suite 1500
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                                               Attorneys for Caterpillar Financial Services
                                               Corporation




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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF MINNESOTA


  In re:                                                Chapter 13

  ANTHONY J. LASTOVICH,                                 Case No. 19-50848

                     Debtor.



                                            PROOF OF CLAIM


         1.        This Proof of Claim is filed by Caterpillar Financial Services Corporation (“CFSC”)

against Anthony J. Lastovich (the “Debtor”).

         2.        As more fully set out in the Complaint attached hereto as Exhibit A, the Debtor and

CFSC entered into a number of contracts (the “Contracts”) whereby the Debtor purchased or leased

various pieces of equipment from CFSC (collectively, the “Equipment”).

         3.        Following the Debtor’s defaults under the Contracts, and pursuant to its rights as a

secured creditor and/or lessor, CFSC repossessed, repaired, and sold the Equipment. After

applying the proceeds from sale, the balance due and owing to CFSC under the Contracts was

$278,809.81, plus late charges, costs, expenses, and attorneys’ fees.

         4.        On September 13, 2019, in connection with the Debtor’s default under each of the

Contracts, and to recover the deficiency amount, CFSC filed the Complaint with the State of

Tennessee 20th Judicial District Chancery Court (the “Chancery Court”). On October 2, 2019,

CFSC served the Debtor with the Complaint. True and correct copies of the Summons and

Affidavit of Service are attached hereto as Exhibit B.

         5.        On October 28, 2019 (the “Petition Date”), the Debtor filed his petition

commencing this Chapter 13 case (the “Bankruptcy Case”). CFSC did not receive notice of the




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commencement of the Bankruptcy Case.

       6.      On November 5, 2019, the Debtor filed his Schedules. CFSC was not listed as a

creditor on the Schedules and did not receive a copy of the Schedules.

       7.      On December 19, 2019, the Chancery Court granted CFSC default judgment in the

amount of $357,203.84 (the “Judgment”). True and correct copies of the Order Granting Default

Judgment and the Default Judgment Certificate are attached hereto as Exhibit C.

       8.      The deadline to file proofs of claim in the Bankruptcy Case was January 6, 2020.

       9.      CFSC first learned of the Bankruptcy Case on May 19, 2020, after obtaining the

Judgment and after the proof of claim deadline.

       10.     CFSC asserts this Proof of Claim in the amount of $305,127.31, which represents

the amount the Debtor owed to CFSC under the Contracts as of the Petition Date, as set forth on

Exhibit D.

       11.     CFSC specifically reserves its right to amend, supplement, or modify this Proof of

Claim in any manner and for any purpose, including, without limitation, to assert a claim in the

amount of the Judgment or to assert additional damages in the event CFSC becomes aware of any

further such damages.

       12.     This Proof of Claim is not intended to be, and shall not be construed as: (1) an

election of remedies, (2) a waiver of defaults, or (3) a waiver or limitation on any rights, remedies,

claims or interests of CFSC. Nothing herein shall submit CFSC to the jurisdiction of this or any

other federal or state court or administrative or regulatory authority or tribunal.

       13.     All Court orders, notices, objections, responses and other pleadings or papers with

respect to this Proof of Claim should be served upon:




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                                 Monica Clark
                                  Will Martin
                            Dorsey & Whitney LLP
                        50 South Sixth Street, Suite 1500
                         Minneapolis, MN 55402-1498

                                       and

                                Tracie K. Shockley
                            Senior Corporate Counsel
                    Caterpillar Financial Services Corporation
                             2120 West End Avenue
                               Nashville, TN 37203




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                                   Exhibit A

                                  Complaint

                                  [Attached]
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                                  Exhibit B

                       Summons and Affidavit of Service

                                  [Attached]
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                                   Exhibit C

        Order Granting Default Judgment and Default Judgment Certificate

                                   [Attached]
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       IN THE CHANCERY COURT FOR DAVIDSON COUNTY, TENNESSEE
                           AT NASHVILLE

 CATERPILLAR FINANCIAL                          )
 SERVICES CORPORATION,                          )
                                                )
        Plaintiff,                              )
                                                )
 v.                                             ) No. 19-1108-III
                                                )
 ANTHONY JAMES LASTOVICH,                       )
 Individually and d/b/a TONY’S                  )
 CONSTRUCTION,                                  )
                                                )
        Defendant.                              )

                             DEFAULT JUDGMENT CERTIFICATE

       Plaintiff, by counsel, certifies that:

       1.      No papers have been served on Plaintiff’s counsel by the Defendant in default,

Anthony James Lastovich, Individually and d/b/a Tony’s Construction (“Defendant”).

       2.      The Defendant was served by personal service on October 2, 2019.

       3.      The amount due is as follows:

        (a) Total amount due on the original obligation for           $69,590.08
            Contract #805307
        (b) Total amount due on the original obligation for           $38,119.72
            Contract #818187
        (c) Total amount due on the original obligation for          $128,460.67
            Contract #822128
        (d) Total amount due on the original obligation for           $42,639.34
            Contract #823247
             COMBINED PRINCIPAL AMOUNT DUE ON
             ORIGINAL OBLIGATIONS                                                    $278,809.81

        (e) Amount of contractual pre-judgment interest for            $6,036.70
            Contract #805307 (at 7.45% from 10/08/18 to
            12/06/19)
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        (f) Amount of contractual pre-judgment interest for                 $2,969.42
            Contract #818187 (at 6.69% from 10/08/18 to
            12/06/19)
        (g) Amount of contractual pre-judgment interest for                $11,143.52
            Contract #822128 (at 7.45% from 10/08/18 to
            12/06/19)
        (h) Amount of contractual pre-judgment interest for                 $2,482.43
            Contract #823247 (at 5% from 10/08/18 to 12/06/19)
              TOTAL PRE-JUDGMENT INTEREST                                                   $22,632.07
              (through 12/06/19)
        (i)   Amount of Attorney fees requested (20% of principal                           $55,761.96
              balance)
        (j)   TOTAL BALANCE DUE                                                           $357,203.84


       4.      The bases for this claim, are installment contracts signed by Defendant Anthony

James Lastovich, copies of which are attached as Exhibits 1-4 to the Complaint.

       5.      The bases for the claimed attorney fees are the specific provisions in the contract

documents that are attached as Exhibits 1-4 of the Complaint filed in this matter. The specific

attorney-fee provisions of the contracts are described in Paragraph 13 of the Complaint.

       6.      The Declaration of Daniel H. Puryear, in support of Plaintiff’s claim for reasonable

attorney’s fees, is filed separately and simultaneously with this default judgment certificate.


                                              Respectfully submitted,

                                              /s/ Daniel H. Puryear
                                              Daniel H. Puryear; No. 018190
                                              Puryear Law Group
                                              104 Woodmont Boulevard,
                                              Woodmont Centre, Suite 201
                                              Nashville, TN 37205
                                              (615) 630-6601 – Telephone
                                              (615) 630-6602 – Facsimile
                                              dpuryear@puryearlawgroup.com

                                              Attorneys for Caterpillar Financial Services
                                              Corporation



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                                  CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing has been served via first class
U.S. Mail, postage prepaid, on November 22, 2019, to:

Anthony James Lastovich
d/b/a Tony’s Construction
7181 Ellen Lane
Side Lake, MN 55781



                                              /s/ Daniel H. Puryear
                                              Daniel H. Puryear




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                                  Exhibit D

                                  [Attached]
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Lastovich


                                                                            #daysbetween
                                                Interest                   GTDateand    Additional    PayoffGT
Contract           GTDate     Payoff           Rate        PerDiem        10/28/2019      Interest       10/28/2019
001Ͳ0805307Ͳ000     7/6/2018    $69,590.08       7.45%    $14.40               479 $6,897.60    $76,487.68
001Ͳ0818187Ͳ000    7/21/2018    $38,119.72       6.69%    $7.08              464 $3,285.12    $41,404.84
 001Ͳ0822128Ͳ000   10/2/2018    $128,460.67        7.45%    $26.58               391 $10,392.78     $138,853.45
001Ͳ0823247Ͳ000    11/2/2017    $42,639.34       6.69%    $7.92              725 $5,742.00    $48,381.34

                               $278,809.81                                                 $26,317.50 $305,127.31
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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA

In re:
                                                                             Bankr. No. 19-50848
Anthony J. Lastovich,                                                                 Chapter 13

                Debtor.


                                             ORDER




         This case is before the Court on the motion of Caterpillar Financial Services Corporation

to deem its proof of claim timely.

         Based on the motion and the file,

         IT IS ORDERED: the motion is granted and the proof of claim filed by Caterpillar

Financial Services Corporation is deemed timely.

Dated:


                                                   Robert J. Kressel
                                                   United States Bankruptcy Judge
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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA

In re:
                                                                           Bankr. No. 19-50848
Anthony J. Lastovich,                                                               Chapter 13

                Debtor.

                          UNSWORN CERTIFICATE OF SERVICE


I, Mary Jo Yokiel, hereby certify that on July 6, 2020, I caused the following documents:

         Notice of Hearing and Motion of Caterpillar Financial Services Corporation for Order
         Deeming Its Proof of Claim Timely; Memorandum of Law in Support of Motion of
         Caterpillar Financial Services Corporation for Order Deeming Its Proof of Claim
         Timely; and (Proposed) Order

to be filed electronically with the Clerk of Court through ECF, and that the above documents will
be delivered by automatic e-mail notification pursuant to ECF and this constitutes service or
notice pursuant to Local Rule 9013-3(a)(1) to the following:

 John F. Hedtke                                  Lakeview Loan Servicing, LLC
 Counsel for Debtor                              c/o Melissa LP Porter and
 Hedtke Law Office                               James A. Dohnalek, Jr.
 1217 E. 1st St.                                 Shapiro & Zielke, LLP
 Duluth, MN 55805-2402                           12550 West Frontage Road, Suite 200
 john@hedtkelaw.com                              Burnsville, MN 55337
                                                 mnbkyaffidavits@logs.com

 Trustees of the Minnesota Laborers Fringe       Trustees of the Minnesota Teamsters
 Benefit Funds                                   Construction Division Health and Welfare
 c/o Christy E. Lawrie, Esq.                     Fund
 McGrann Shea Carnival Straughn & Lamb,          c/o Christy E. Lawrie, Esq.
 Chtd.                                           McGrann Shea Carnival Straughn & Lamb,
 800 Nicollet Avenue, Suite 2600                 Chtd.
 Minneapolis, MN 55402                           800 Nicollet Avenue, Suite 2600
                                                 Minneapolis, MN 55402
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 Trustees of the Operating Engineers Local
 #49 Fringe Benefit Funds
 c/o Christy E. Lawrie, Esq.
 McGrann Shea Carnival Straughn & Lamb,
 Chtd.
 800 Nicollet Avenue, Suite 2600
 Minneapolis, MN 55402


I further certify that I caused a copy of the foregoing documents to be mailed by first class mail,
postage paid, to the following:

 Anthony J. Lastovich                                Kyle Carlson
 7181 Ellen Lane                                     Trustee
 Side Lake, MN 55781                                 P. O. Box 519
                                                     Barnesville, MN 56514

 U.S. Trustee                                        Cenlar Mortgage Central Loan Administration
 1015 U.S. Courthouse                                Attn: Bankruptcy and/or Officer or Agent
 300 S. 4th St.                                      Authorized to Accept Service
 Minneapolis, MN 55415                               425 Phillips Blvd.
                                                     Ewing, NJ 08618

 Frandsen Bank                                       Internal Revenue Service
 Attn.: Officer or Agent Authorized to Accept        P. O. Box 7346
 Service                                             Philadelphia, PA 19101-7346
 501 Chestnut St.
 Virginia, MN 55792-2531

 John and Ellen Gregorich                            Minnesota Department of Revenue
 2507 3rd Avenue W.                                  Bankruptcy Stop 5700
 Hibbing, MN 55746                                   P. O. Box 64447
                                                     St. Paul, MN 55106

 St. Louis County Auditor                            Vanishing Point Ventures, LLC
 100 N. 5th Ave. W., Room 214                        Attn.: Officer or Agent Authorized to Accept
 Duluth, MN 55802                                    Service
                                                     3030 N. Rocky Pointe Dr., Suite 150
                                                     Tampa, FL 33607

 Wells Fargo Dealer Services
 Attn: Bankruptcy and/or Officer or Agent
 Authorized to Accept Service
 P. O. Box 19657
 Irvine, CA 92623



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Dated: July 6, 2020                        /s/ Mary Jo Yokiel
                                           Mary Jo Yokiel




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